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                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In re:                                            :
                                                   :       Bankruptcy No. 18-70870-JAD
 LARRY FREDERICK and SHARON FREDERICK,             :
                                                   :       Chapter 11
 Debtors.                                          :
                                                   :       Doc No. _____
 LARRY FREDERICK and SHARON FREDERICK,             :
                                                   :       Related to Doc No. 175
 Movants,                                          :
                                                   :       Objection Due: 1/19/21 @ noon
 NO RESPONDENT.                                    :       Hearing Date: 1/20/21 @ 10:30 AM

             OBJECTION OF GROWMARK FS LLC AND FS FINANCIAL SERVICES, LLC TO EXPEDITED
                         APPLICATION FOR APPROVAL OF REAL ESTATE BROKER

          GROWMARK FS, LLC and FS Financial Services, LLC (collectively “Growmark”) file this Objection

 to the Expedited Application for Approval of Real Estate Broker [ECF 175] (the “Application”) filed by the

 Debtors:

          1.      Growmark has a secured claim and a perfected priority security interest in all of the

 Debtors’ personal property, including, without limitation, their livestock and equipment. Growmark has

 filed Proofs of Claim at Claim Nos. 19 and 20 in this Bankruptcy Case (the “Growmark Claims”).

          2.      To date, no objection has been filed to the Growmark Claims and the Growmark Claims

 are entitled to a presumption of validity. Federal Rule of Bankruptcy Procedure 3001(f); 11 U.S.C.

 § 502(a).

          3.      The Application filed by the Debtors refers to a Motion to Approve Stipulation and

 Consent Order Settling Contested Matters Between Debtors and M&T Bank and Establishing Asset Sale

 Process [ECF 173] (the “Motion to Approve”).

          4.      The objection deadline for the Motion to Approve is January 26, 2021. Growmark has

 significant issues with the relief sought in the Motion to Approve and will file an objection by the

 applicable deadline.
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         5.      In the Application, the Debtors seek approval of a Listing Contract that includes terms

 and conditions that are contained in Motion to Approve, including, without limitation, provisions that

 the purchaser of any property will assume the Seller’s “obligation owing to Growmark FS LLC and FS

 Financial Services, LLC in the approximate amount of $260,000, to the extent said obligation constitutes

 a lien on the Frederick Road Properties”. See Exhibit “A” to Application at p. 7-8. The Debtors and M&T

 have not at all negotiated this treatment with Growmark and no provision of the Bankruptcy Code

 allows the Debtors and M&T to force this treatment on Growmark, especially given its presumptively

 valid secured claim on the Debtors’ personal property.

         6.      As this Court is aware from prior filings in this Bankruptcy Case, there is a lien priority

 dispute between M&T and Growmark over the priority of their respective liens on and in the Debtors’

 personal property. See e.g., ECF 135.

         7.      Growmark does not object per se to the retention of a broker by the Debtors and the

 payment of a 6% commission to the Broker in accordance with the Listing Agreement attached to the

 Application. Growmark does object, however, to not being paid from the proceeds of the sale of the

 properties on account of its secured claim and to the granting of this Application having any preclusive

 effect in any dispute by and among the Debtors, M&T, Growmark, and any other parties.

         8.      Growmark requests that should this Court grant the Application, that it expressly

 reserve all rights of Growmark to object to the Motion to Approve (as well as any other pleadings filed

 by the Debtors, M&T, or any other party in this Bankruptcy Case) and hold that nothing in the approval

 of this Application will prejudice, have preclusive effect, and/or determine any issue against Growmark.

         WHEREFORE, Growmark respectfully requests that, to the extent this Honorable Court grants

 the Application, that it use the form of Order attached to this Objection which expressly reserves all

 rights of Growmark and holds that the granting of the Application will not have any preclusive effect in

 any future dispute by and among the Debtors, M&T, Growmark, and any other parties.


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      Dated: January 19, 2021                  Respectfully submitted,

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                                               Financial Services, LLC




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